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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             CRIMINAL NO.

                                                     VIOLATION:

                                                     18 U.S.C. S 1001(aX2)
HANNIBAL KOKAYI,                                     (False Statements)
                       Defendant.

                         CRIMINAL INF ORMATION- COUNT ONE

The United States Attomey charges that:

       l.      The Federal Bureau oflnvestigation   ("FBI")   has been investigating foreign terrorist


groups, including the Islamic State of Iraq and al-Sham   ("lSlS).   ISIS has been designated by the

United States Secretary of State as a Foreign Terrorist Organization under Section 219 of the

Immigration and Nationality Act and as a Specially Designated Global Terrorist ("SDGT") entity

under section 1(b) ofExecutive Order 13224, who have sought to recruit U.S. persons as supporters

and fighters. To gain supporters, recruit fighters, and raise funds, ISIS spreads its message of

viotentjihad using internet websites and social media platforms. Using these platforms, ISIS posts

audio and video-inctuding recruitment messages and updates of events in Syria and            lraq-to

draw support. Online chat rooms controlled by ISIS sympathizers effectuate this support.

       2.      HANNIBAL KOKAYI C'KOKAYI") is a resident of the District of Columbia.

       3.      At all relevant times, FBl, an agency ofthe Executive Branch ofthe United        States


government, was conducting an international terrorism investigation to determine         if a group of

individuals   in   Washington D.C. and elsewhere, including the defendant KOKAYI, were

committing federal offenses relating to terrorism, including whether they were attempting to

provide material suppo( to ISIS (including by attempting to travel to ISIS territory to fight on

behalfoflSlS) or planning to commit terrorist acts in the United   States on   behalfoflSlS C'the FBI
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Investigation"). A federal grand jury investigation in the District of Columbia was also initiated

to investigate these potential offenses. Both the federal        grand   jury investigation and the FBI

lnvestigation involved possible viotations of l8 U.S.C. $ 23398: that is Providing, Attempting to

Provide, and Conspiring to Provide Material Support to a Foreign Terrorist Organization (ISIS)'

         4.        The following information was material to the FBI Investigation and the federal

grand   jury investigation: the identity of   persons who   KOKAYI and others encouraged to support

ISIS; how KOKAYI and others encouraged supporters of ISIS; whether KOKAYI and others

were training or preparing to fight for ISIS in the United States; whether KOKAYI, and others had

any connection with ISIS members or any person who may have expressed support for committing

attacks in the United States on behalf of ISIS; whether KOKAYI was aware of any discussion or

planning by anyone to travel to ISIS territory to support ISIS, and whether KOKAYI, and others

expressed support for ISIS or watched, reviewed and distributed ISIS propaganda as part ofany        of

the above efforts or activities.

         5.        On or about July 24, 2018, KOKAYI was voluntarily interviewed by FBI Special

Agents ("FBI Agents") at Dulles International Airport, in           Virginia. During the interview,

KOKAYI was wamed that intentionally lying to the FBI was punishable under federal law.

During the interview, FBI Agents asked KOKAYI about his association with foreign terrorist

organizations, and specifically identified ISIS as a foreign terrorist organization. KOKAYI made

false statements to the FBI Agents, including that:

              a.   He had never expressed a desire to participate in, an extremist organization such as

                   ISIS;

              b.   He did not know of anyone who had participated with or been a member of an

                   extremist organization such as ISIS;


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            c.   He had never encouraged anyone to participate in ISIS's activities;

            d.   He never expressed a desire to support a tenorist organization;

            e.   He never expressed a desire to        join ISIS;

            f.   He did not know of anyone who encouraged others to pa(icipate in or support a

                 foreign terrorist organization;

            g.   He did not personally know ofanyone who had expressed a desire             tojoin or support

                 ISIS;

            h.   He never expressed a desire to live in an area controlled by a terrorist organization;

            i.   He did not know of anyone who wanted to travel overseas and live in ISIS

                 controlled territory; and

            j.   None of his friends in the District of Columbia support or have a desire to join a

                 terrorist organ ization.

       6.        On or about August 23,2018,           KOKAYI voluntarily met with FBI Agents, in the

District of Columbia. During the interview, FBI Agents advised KOKAYI that false statements

to the FBI were punishable under federal        law.    During the interview, FBI Agents asked KOKAYI

about an individual who had been criminally charged in the Eastern District of Virginia (hereinafter

"P-4"), and KOKAYI's knowledge about activity related to foreign terrorist organizations,

including   ISIS. KOKAYI        made false statements to the FBI Agents, including that:

            a.   The answers he previously gave the FBI Agents on July 24, 2018, remained true

                 and correct;

            b.   He did not remember        if P-4 had ever expressed   a desire to   fightjihad;

            c.   He did not remember        if P-4   had ever expressed a desire to travel overseas to fight

                 jihad;
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            d.    P-4 did not express sympathies for lSlS that would be construed as being supportive

                  of the cause;

            e.    He did not remember   if P-4 stated    he wanted to travel to Syria to fight for ISIS;

             f.   He did not remember if he ever stated he wanted to travel to Syria to support ISIS

                  or fight for ISIS;

             g.   He never expressed a desire to travel overseas to fight for ISIS, or to fightjihad;

             h.   He could not remember     if   anyone he knows or communicated with expressed a

                  desire to him that they wanted to make        hijrahrto support the Caliphate, support

                  ISIS or to possibly martyr themselves;

             i.   He never expressed a desire to participate in, or become a member of, a foreign

                  terrorist organization like ISIS, and he did not know anyone who had done so;

            j.    He never encouraged anyone to become a member or supporter ofa foreign terrorist

                  organization, such as ISIS;

             k.   He never expressed a desire to provide money. anything else of value, or services

                  or labor in support of a foreign terrorist organization such as ISIS;

             l.   He did not know of anyone else who had provided support to ISIS or expressed a

                  desire to provide money, anything else of value or services or labor for a foreign

                  terrorist organization such as ISIS;

             m. He never expressed a desire to travel abroad and live in an area controlled by a

                  foreign terrorist organization such as ISIS; and




I   "Hijrah" or "hijra" means migration, but was specifically used by Kokayi to mean the travel to
engage in jihad.


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            n.   Neither he, nor anyone else he knows, encouraged, or provided advice or guidance,

                 to anyone who expressed a desire to go overseas to support ISIS in any way.

       7.        On or about July 24, 2018 and August 23, 2018, in the District of Columbia and

elsewhere, the defendant, FLA.NNIBAL KOKAYI, knowingly and                   willfully made numerous

material false statements regarding an FBI investigation, that is a matter within the Executive

branch of the United States.

       (False Statements, in violation   ofTitle   18, United States Code. Section   l00l(a)(2))



                                               Respectful ly subm itted.



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